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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


GERARD CAMPBELL, individually on behalf of
himself and all others similarly situated,    Case No. 1:16-cv-07176-ILG-PK

             Plaintiffs,                      DECLARATION OF J. NOAH HAGEY,
                                              ESQ. IN SUPPORT OF MOTION TO
                                              SANCTION PLAINTIFF AND HIS
      v.                                      LAWYERS PURSUANT TO FRCP RULE
                                              11
DRINK Daily Greens, LLC, a Delaware limited
liability company,

             Defendant.




                                                               J. Noah Hagey, Esq.
                                                Matthew Borden, Esq. (pro hac vice)
                                                     Amit Rana, Esq. (pro hac vice)
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                                                           Attorneys for Defendant
                                                          Drink Daily Greens, LLC
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          I, J. Noah Hagey, Esq., declare as follows:

          1.     I am licensed to practice before this Court and am counsel of record for Defendant

Drink Daily Greens, LLC (“Daily Greens”). I make this declaration based on personal

knowledge. If called as a witness, I could and would testify competently to the facts stated

herein.

          2.     Attached hereto as Exhibit 1 is a true and correct copy of the Complaint in the

action styled Gerard Campbell v. Freshbev LLC and Whole Foods Market, Inc., No. 16-cv-

07119-FB-ST (E.D.N.Y.).

          3.     Attached hereto as Exhibit 2 is a true and correct copy of the Complaint in the

action styled Gerard Campbell v. Jamba, Inc. and Jamba Juice Company, No. 16-cv-09993-VM

(E.D.N.Y.).

          4.     Attached hereto as Exhibit 3 is a true and correct copy of the Complaint in the

action styled Alamilla v. Hain Celestial Group, No. 13-cv-05595-VC (N.D. Cal.).

          5.     Attached hereto as Exhibit 4 is a true and correct copy of the U.S. Food & Drug

Administration’s Guidance for Industry: The Juice HACCP Regulation - Questions & Answers,

located at

https://www.fda.gov/Food/GuidanceRegulation/GuidanceDocumentsRegulatoryInformation/ucm

072981.htm#E.

          6.     Attached hereto as Exhibit 5 is a true and correct copy of Daily Greens’ product

label for their “Harmony Sweet Greens” Cold-Pressed Vegetable and Fruit Juice Blend.

          7.     Attached hereto as Exhibit 6 is a true and correct copy of the Frequently Asked

Questions section of Daily Greens’ website, located at https://www.drinkdailygreens.com/faq.




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        8.     Attached hereto as Exhibit 7 is a true and correct copy of the “Farm to Juice”

page on Daily Greens’ website, located at https://drinkdailygreens.com/farm-to-juice.

        9.     Attached hereto as Exhibit 8 is a true and correct copy of the “Green Juices” page

on Daily Greens’ website, located at https://drinkdailygreens.com/green-juices.

        10.    Attached hereto as Exhibit 9 is a true and correct copy of a letter dated March 15,

2017 sent from me to Plaintiff’s counsel.

        11.    Our firm is a boutique firm with offices in New York City and San Francisco that

routinely handles high-profile litigation. A few years ago, we obtained one of the largest

verdicts in Delaware Chancery Court that year, which exceeded $35,000,000. Being a small firm

of less than 20 lawyers, we run our cases as leanly and efficiently as possible.

        12.    I am a founding partner and the managing partner of BraunHagey & Borden LLP

and am familiar with my firm’s billing practices and its billing in this matter. As detailed below,

Daily Greens has incurred $131,105 in reasonable attorney’s fees in conjunction with this

litigation, broken down as follows: $16,525 for preparing the immediate Rule 11 motion for

sanctions, $51,754 for preparing Defendant’s motion to dismiss the second amended complaint

and reply in support thereof, $33,677 for preparing Daily Greens’ first motion to dismiss the

complaint and responding to Plaintiff’s iterative requests to amend the pleadings, and $29,149

for case analysis, investigation, correspondence, client communications and other litigation

activities.

        13.    I attended the University of Texas Law School as a President’s Scholar and

graduated in 2001. Before founding BraunHagey & Borden LLP, I previously practiced at Quinn

Emmanuel Urquhart & Sullivan (New York and San Francisco) and Dentons (London and New

York). I also externed for the Honorable Chief Justice Thomas Phillips of the Texas Supreme



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Court. I have tried cases in state and federal court and argued appeals in state and federal

appellate courts. I have successfully prosecuted and defended over a hundred bet-the-company

cases for Fortune 500 companies, private businesses, foreign sovereigns and other clients. With

few exceptions, all my clients pay for my services on an hourly basis. Attached hereto as

Exhibit 10 is a true and correct copy of my professional biography. My standard billing rate is

$795/hour. This is the rate that I use on client pitches, the standard rate our firm bills clients and

the rate numerous clients actually pay for my services. I billed 25.45 efficient hours on this

matter, which consisted of establishing overall case strategy, revising court filings including two

motions to dismiss and this rule 11 motion, and supervising other firm attorneys.

       14.     Matthew Borden is a founding partner at BraunHagey & Borden LLP. Mr. Borden

graduated from the University of California, Hastings School of Law in 2000. After law school,

Mr. Borden clerked for the Honorable William Alsup in the United States District Court for the

Northern District of California, and then practiced at Morrison & Foerster LLP. Mr. Borden has

tried cases in state and federal court and argued appeals in California state court and in the Ninth

Circuit and D.C Circuit Court of Appeals. Mr. Borden has successfully represented Fortune 500

companies, private equity funds, financial institutions, and foreign governments in billion dollar

lawsuits and other high-stakes litigation (some of his former clients include Bank of America,

Kyocera Corp., Wells Fargo Bank, and the Government of Egypt). Attached hereto as Exhibit 11

is a true and correct copy of Mr. Borden’s professional biography. Mr. Borden’s standard billing

rate is $745/hour, which is the rate used on client pitches, the standard rate billed to clients and

the rate numerous clients actually pay for services. Mr. Borden billed 85.7 efficient hours on this

matter, which consisted primarily of establishing overall case strategy and drafting and revising

court filings, including two motions to dismiss and this rule 11 motion.



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       15.        Amit Rana is an associate at BraunHagey & Borden LLP. Mr. Rana graduated

from the University of California, Davis School of Law in 2013, where he was the editor of the

UC Davis Law Review. Attached hereto as Exhibit 12 is a true and correct copy of Mr. Rana’s

professional biography. His standard billing rate is $450/hour, which is the rate used on client

pitches, the standard rate billed to clients and the rate numerous clients actually pay for services.

Mr. Rana billed 91 efficient hours on this matter, which consisted of legal research, drafting of

court filings including two motions to dismiss and this rule 11 motion, and communications with

opposing counsel.

       16.        Molly Tullman was an attorney previously with BraunHagey & Borden LLP. Ms.

Tullman graduated from Northwestern University Pritzker School of Law in 2006. Her standard

billing rate was $450/hour, which is the rate used on client pitches, the standard rate billed to

clients and the rate numerous clients actually pay for services. Ms. Tullman billed 30 efficient

hours on this matter, which consisted of legal research and drafting and revising court filings.

       17.        Katie Kushnir is a legal assistant at BraunHagey & Borden LLP. Her standard

billing rate is $225/hour, which is the rate used on client pitches, the standard rate billed to

clients and the rate numerous clients actually pay for services. Ms. Kushnir billed 28.9 efficient

hours on this matter, which consisted of legal research and revising court filings.

       18.        In accordance with our firm’s standard practice, I wrote off any time that I

believed was not efficiently spent, including time I believe was spent unnecessarily or

duplicatively. I also wrote off time spent by lawyers on tasks that might be considered

administrative.

       19.        The rates charged by BraunHagey & Borden LLP, as detailed above, are

commercially reasonable and are below the rates charged by many firms doing similar work in



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the San Francisco and New York market, which can exceed $1,000 per hour for partners and

$600 for associates. Our firm’s rates have been approved by the Ninth Circuit in conjunction

with sanctions on appeal, United States District Court of the Northern District of California in

conjunction with discovery sanctions and by various state courts in fee petitions.

       20.     The total amount incurred by Drink Daily Greens in defending this lawsuit is

$131,105. Defendant is seeking recovery of only $111,439, which represents a 15% discount on

the amount actually incurred to eliminate any possible inefficiency or any argument that the fees

include improper administrative or over charges (which they do not).

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.



Dated: November 2, 2018
                                                             J. Noah Hagey




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